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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
AGUSTIN CAMANO ANZUREZ, individually and on :
behalf of others similarly situated,                                   :
                                                                       :   20-CV-3828 (JMF)
                                    Plaintiff,                         :
                                                                       :        ORDER
                  -v-                                                  :
                                                                       :
LA UNICA CARIDAD, INC. d/b/a LA CARIDAD 78                             :
RESTAURANT et al.,                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        The proceeding on October 29, 2020 at 3:30 p.m. will be a hearing on the pending
default judgment motion as to Defendant La Unica Caridad, Inc. The proceeding will be held
remotely by teleconference in accordance with Rule 2(A) of the Court’s Emergency Individual
Rules and Practices in Light of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-
furman. The parties should join the conference by calling the Court’s dedicated conference line
at (888) 363-4749 and using access code 542-1540, followed by the pound (#) key. (Members of
the public and press may also attend using the same dial-in information; they will not be allowed
to speak during the conference.)

        As stated in Rule 2(C)(ii) of the Court’s Emergency Individual Rules and Practices in
Light of COVID-19, no later than 24 hours before the conference, the parties shall email the
Court a list of counsel who may speak during the teleconference and the telephone numbers from
which counsel expect to join the call. More broadly, counsel should review and comply with the
rules and guidance regarding teleconferences set forth in the Court’s Emergency Individual
Rules and Practices in Light of COVID-19.

        In light of the appearance of counsel for Defendants Kwok Wood Lee and Miguel Yip,
ECF No. 42, the October 29 proceeding will be treated as the initial pretrial conference as to
them, per the Court’s order of September 29, 2020, ECF No. 40. Counsel should submit their
proposed case management plan and joint letter by the Thursday prior to the conference, as
directed in the Court’s earlier Scheduling Order. See ECF No. 13. In their joint letter, the parties
should also indicate whether they can do without a conference altogether. If so, the Court may
enter a case management plan and scheduling order and those parties need not appear. Counsel
should review and comply with the Court’s Emergency Individual Rules and Practices in Light
of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.
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        Plaintiff shall promptly serve this order on Defendant La Unica Caridad, Inc. and,
no later than October 21, 2020, file proof of service on the docket.

       SO ORDERED.

Dated: October 19, 2020                          __________________________________
       New York, New York                                 JESSE M. FURMAN
                                                        United States District Judge




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